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                                     UNITED STATES DISTRICT COURT
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                                    CENTRAL DISTRICT OF CALIFORNIA
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 10   LAURENCE CAURELIOLA MIXON,                         Case No. 5:20-CV-1539-PA (LAL)

 11                                     Petitioner,      ORDER ACCEPTING REPORT AND
                                                         RECOMMENDATION OF UNITED
 12                            v.                        STATES MAGISTRATE JUDGE
 13   JIM ROBERTSON, Warden,

 14                                       Respondent.

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 17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the Magistrate Judge’s
 18   Report and Recommendation, Petitioner’s Objections, and the remaining record, and has made a
 19   de novo determination.
 20          Petitioner’s Objections lack merit for the reasons stated in the Report and
 21   Recommendation.
 22          Accordingly, IT IS ORDERED THAT:
 23          1.     The Report and Recommendation is approved and accepted;
 24          2.     Judgment be entered denying the Petition and dismissing this action with
 25                 prejudice; and
 26   ///
 27   ///
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  1        3.    The Clerk serve copies of this Order on the parties.
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      DATED: November 15, 2021                 ________________________________________
  4                                            PERCY ANDERSON
  5                                            UNITED STATES DISTRICT JUDGE

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